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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF VIRGINIA


                             Alexandria Division



  KENNETH SMITH,

        Plaintiff,

  V.                                     Civil Action No. 1:17-cv-01097


  MEGAN BRENNAN,

        Defendant.




                             MEMORANDUM OPINION




        THIS MATTER comes before the Court on Defendant's Motion for


  Summary Judgment pursuant to Fed. R. Civ. P. 56.

        Plaintiff, a male employee of the United States Postal

  Service {"USPS"), initiated this suit for discrimination on

  September 29, 2017. In 1993, Plaintiff was hired by USPS as a

  mechanic and was moved, a few years later, to position as an

  electronics engineering technician at the Dulles Processing and

   Distribution Center ("Dulles P&DC") in Loudon County. After his

  move and during the relevant time period. Plaintiff's first

  level supervisor was Clement Jackson, and his second level

  supervisor was Gloria Luna.

         Plaintiff has self-published two books on his studies of

   genetics. In approximately 2010, Plaintiff began posting
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